      Case: 1:20-cr-00613 Document #: 1 Filed: 09/10/20 Page 1 of 2 PageID #:1                 LP
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                                                                                 IL ED
                       UNITED STATES DISTRICT COURT                            sEP 10 2020
                       NORTHERN DISTRICT OF ILLINOIS
                                                                            THOMAS G BRUTON
                             EASTERN DIVISION
                                                                        CLERK U.8. DISTRICT COURr

UNITED STATES OF AMERICA

      V.
                                                  N"2O C R                    613
                          )                       Violation: Title 18, United States
HERIBERTO CARBAJAL-FLORES )                       Code, Section 922(d$)G\)
                          )                                          JUDGE coLEMAN
      rhe SPECIAL MAY 207s GRAND JURY charges:
                                                                MAGISTR,.TE JUDGE VALDEZ
      On or about June L, 2020, at Chicago, in the Northern District of Illinois,

Eastern Division,

                        HERIBERTO CARBAJAL-FLORE S,

defendant herein, knowing that he was an alien illegally and unlawfully in the United

States, did knowingly possess, in and affecting interstate and foreign commerce, a

frrearm, namely, a loaded Raven Arms MP-25 .25 caliber semi-automatic pistol

bearing serial number 6g417g,which firearm tud t"rrr"led in interstate commerce

prior to defendant's possession of the firearm;

      In violation of Title 18, United States Code, Section 922(g)(5)(A).
      Case: 1:20-cr-00613 Document #: 1 Filed: 09/10/20 Page 2 of 2 PageID #:2




                          FORFEITURE ALLEGATION

      The SPECIAL MAY 2019 GRAND JURY further alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States Code,

Section 922(9), as set forth in this Indictment, defendant shall forfeit to the United

States of America any firearm and ammunition involved in and used in the offense,

as provided in Title 18, United States Code, Section 924(d)(1) and Title 28, United

States Code, Section 246L(c).

      2.     The property to be forfeited includes, but is not limited to, a Raven Arms

MP-25 .25 caliber semi-automatic pistol bearing serial number 694179, and

associated ammunition.


                                               A TRUE BILL:



                                               FOREPERSON



signed by Timothy Storino on behalf of the
UNITED STATES ATTORNEY
